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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-916V
                                          UNPUBLISHED


    CHRISTOPHER DOUGHERTY,                                      Chief Special Master Corcoran

                         Petitioner,                            Filed: September 16, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Matthew Murphy, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On July 29, 2020, Christopher Dougherty filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine administered to him on October 20, 2017. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special Masters.

        On May 17, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. On September 15, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $110,000.00. Proffer at
1. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Id. at 2. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $110,000.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under Section
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
CHRISTOPHER DOUGHERTY,              )
                                    )
       Petitioner,                  )   No. 20-916V ECF
                                    )
              v.                    )   Chief Special Master Corcoran
                                    )
SECRETARY OF HEALTH                 )
AND HUMAN SERVICES,                 )
                                    )
      Respondent.                   )
___________________________________ )

                      PROFFER ON AWARD OF COMPENSATION1

I.     Procedural History

       On July 29, 2020, Christopher Dougherty (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or

“the Act”), 42 U.S.C. §§ 300aa-1 to -34. Petitioner alleged that he suffered Guillain-Barré

Syndrome (“GBS”) as a result of an influenza (“flu”) vaccine administered to him on October

20, 2017. See Petition. On May 7, 2021, respondent filed his Vaccine Rule 4(c) report,

concluding that petitioner suffered GBS as defined by the Vaccine Injury Table, within the Table

timeframe. On May 17, 2021, Chief Special Master Corcoran issued a ruling on entitlement,

finding that petitioner was entitled to compensation for a GBS Table injury.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $110,000.00. This amount represents all elements of compensation to which




       1 This Proffer does not include attorneys’ fees and costs, which the parties intend to
address after the Damages Decision is issued.
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petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

III.   Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment, as described below, and requests that the Chief Special Master’s

decision and the Court’s judgment award the following: A lump sum payment of $110,000.00 in

the form of a check payable to petitioner.2 Petitioner agrees.

                                             Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Acting Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                HEATHER L. PEARLMAN
                                                Deputy Director Torts
                                                Branch, Civil Division

                                                TRACI R. PATTON
                                                Assistant Director
                                                Torts Branch, Civil Division

                                                /s/ Matthew L. Murphy
                                                by Joseph A. Lewis
                                                MATTHEW L. MURPHY
                                                Trial Attorney
                                                Torts Branch, Civil Division
                                                U.S. Department of Justice
                                                P.O. Box 146
                                                Benjamin Franklin Station Washington, D.C.
                                                20044-0146
                                                (202) 616-4840
                                                matthew.murphy@usdoj.gov
  Dated: September 15 2021

       2   Should petitioner die prior to entry of judgment, respondent would oppose any award
for future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.
                                                   2
